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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District of Arkansas

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 4:98CR00091 - 49 JMM
                        FRANKIE WEBB
                                                                     )   USM No: 21477-009
Date of Previous Judgment: September 13, 1999                        )   John Stratford
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of x the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 170 months months is reduced to     152 months             .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    23               Amended Offense Level:                                              21
Criminal History Category: VI               Criminal History Category:                                          VI
Previous Guideline Range: 92  to 115 months Amended Guideline Range:                                            77        to 96   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
x The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS

110 months on Count 60 and a mandatory consecutive 60 months on Count 61 for a total of 170 is reduced to 92 months
on Count 60 and a mandatory consecutive 60 months on Count 61 for a total of 152 months.


Except as provided above, all provisions of the judgment dated 9/13/1999                    shall remain in effect.


IT IS SO ORDERED.

Order Date:         September 16, 2008                                                          /s/ James M. Moody
                                                                                                   Judge’s signature


Effective Date:                                                               James M. Moody, United States District Judge
                     (if different from order date)                                              Printed name and title
